Case 3:19-cv-01182-K Document 1-2 Filed 05/16/19   Page 1 of 8 PageID 25




                 EXHIBIT 2
               Case 3:19-cv-01182-K Document 1-2 Filed 05/16/19       Page 2 of 8 PageID 26




   Application of U.S. Patent No. 9,696,847 to
   LG Electronics USA, Inc. (“Defendant”) via
    its LG Smartphones with Pattern Lock
     Functionality (“Accused Products”)*




* This claim chart is meant to be illustrative for purposes of meeting Plaintiff’s pleading obligations and
should not be construed as binding or limiting. Plaintiff will serve infringement contentions in this case in
accord with the Local Rules and scheduled entered by the Court.
           Claim 13                                           Evidence
                        Case 3:19-cv-01182-K Document 1-2 Filed        of Infringement
                                                                05/16/19    Page 3 of 8 PageID 27
13. A user interface method,    LG makes, uses, imports, sells and/or offers for sale Android smartphones that perform the methods
comprising:                     claimed by U.S. Patent No. 9,696,847. For example, LG Android smartphones implement the method
                                of claim 13 when configuring or implementing Pattern Lock. On information and belief, LG, or an
                                agent of LG acting on its behalf, has, via its testing of the Accused Products, caused the Accused
                                Products to practice the claimed user interface method. In addition, in the alternative to direct
                                infringement, LG has induced end users of the Accused Products to cause the Accused Products to
                                practice the claimed user interface method.




                                  https://www.lg.com/us/support/product-help/CT10000025-1418337453560-lock-pattern-code


                                                                                                                               2
           Claim 13                                            Evidence
                         Case 3:19-cv-01182-K Document 1-2 Filed        of Infringement
                                                                 05/16/19    Page 4 of 8 PageID 28
defining an enablement              LG smartphones define an enablement protocol for a function of an electronic device when a user sets
protocol for a function of an       a pattern for pattern lock.
electronic device, said
enablement protocol
comprising a user-defined
gesture for touch input on a
touch-sensitive area of a
display screen operatively
associated with said electronic
device by displaying at least
two visual indicators on the
touch-sensitive area of the
display screen indicative of a
plurality of different possible
gestures and inputting the user-
defined gesture which includes
a continuous touch which
terminates at one of the at least
two visual indicators on the
touch-sensitive area of the
display screen for the
enablement protocol;




                                      https://www.lg.com/us/support/product-help/CT10000025-1418337453560-lock-pattern-code




                                                                                                                                     3
           Claim 13                                            Evidence
                         Case 3:19-cv-01182-K Document 1-2 Filed        of Infringement
                                                                 05/16/19    Page 5 of 8 PageID 29
defining an enablement              The pattern is a user-defined gesture for touch input on the touch screen of an LG smartphone.
protocol for a function of an
electronic device, said
enablement protocol
comprising a user-defined
gesture for touch input on a
touch-sensitive area of a
display screen operatively
associated with said electronic
device by displaying at least
two visual indicators on the
touch-sensitive area of the
display screen indicative of a
plurality of different possible
gestures and inputting the user-
defined gesture which includes
a continuous touch which
terminates at one of the at least
two visual indicators on the
touch-sensitive area of the
display screen for the
enablement protocol;



                                     https://www.lg.com/us/support/product-help/CT10000025-1418337453560-lock-pattern-code




                                                                                                                                     4
           Claim 13                                            Evidence
                         Case 3:19-cv-01182-K Document 1-2 Filed        of Infringement
                                                                 05/16/19    Page 6 of 8 PageID 30
defining an enablement              LG smartphones define an enablement protocol by displaying a grid on which a user can draw a
protocol for a function of an       pattern (i.e., displaying at least two visual indicators on the touch-sensitive area of the display screen
electronic device, said             indicative of a plurality of different possible gestures) and interpreting a pattern drawn by the user
enablement protocol                 (i.e., inputting the user-defined gesture which includes a continuous touch which terminates at one of
comprising a user-defined           the at least two visual indicators on the touch-sensitive area of the display screen for the enablement
gesture for touch input on a        protocol).
touch-sensitive area of a
display screen operatively
associated with said electronic
device by displaying at least
two visual indicators on the
touch-sensitive area of the
display screen indicative of a
plurality of different possible
gestures and inputting the user-
defined gesture which includes
a continuous touch which
terminates at one of the at least
two visual indicators on the
touch-sensitive area of the
display screen for the
enablement protocol;




                                     https://www.lg.com/us/support/product-help/CT10000025-1418337453560-lock-pattern-code



                                                                                                                                           5
           Claim 13                                           Evidence
                        Case 3:19-cv-01182-K Document 1-2 Filed        of Infringement
                                                                05/16/19    Page 7 of 8 PageID 31
retaining said enablement        LG smartphones store the pattern (i.e., said enablement protocol of said function) for future use after a
protocol of said function; and   user draws the pattern (e.g., by selecting “NEXT”).




                                  https://www.lg.com/us/support/product-help/CT10000025-1418337453560-lock-pattern-code




                                                                                                                                      6
           Claim 13                                            Evidence
                         Case 3:19-cv-01182-K Document 1-2 Filed        of Infringement
                                                                 05/16/19    Page 8 of 8 PageID 32
displaying the at least two       LG smartphones confirm a pattern by displaying a grid on which a user can draw a pattern (i.e.,
visual indicators on the touch-   displaying the at least two visual indicators on the touch-sensitive area of the display screen ) and
sensitive area of the display     receiving from the touch screen display a pattern drawn by a user (i.e., receiving a gesture for touch
screen and receiving a gesture    input on the touch sensitive area of the display screen that substantially reproduces the user-defined
for touch input on the touch      gesture that includes the continuous touch which terminates at one of the at least two visual indicators
sensitive area of the display     corresponding to said retained enablement protocol to enable said function).
screen that substantially
reproduces the user-defined
gesture that includes the
continuous touch which
terminates at the one of the at
least two visual indicators
corresponding to said retained
enablement protocol to enable
said function.




                                     https://www.lg.com/us/support/product-help/CT10000025-1418337453560-lock-pattern-code



                                                                                                                                       7
